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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,            )
                                  )
       Plaintiffs,                )
                                  )         CIVIL ACTION NO.
       v.                         )           2:14cv601-MHT
                                  )                (WO)
JEFFERSON S. DUNN, in his         )
official capacity as              )
Commissioner of                   )
the Alabama Department of         )
Corrections, et al.,              )
                                  )
       Defendants.                )

ADDITIONAL PHASE 2A REVISED REMEDY SCHEDULING ORDER ON
              THE EIGHTH AMENDMENT CLAIM

                                  I.

       On July 2, 2018, plaintiffs filed a motion for a

show-cause order as to why defendants should not be

held in contempt of this court’s orders regarding the

mental-health understaffing remedy.              The motion claims

both    that   defendants      have     failed    to    comply     with

requirements     to    produce        certain    information       (the

“reporting issue”), and that defendants have failed to

hire the requisite number of mental-health staff by the
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deadlines       set     by        the    court          (the     “implementation

issue”).       Based on the representations made during an

on-the-record conference call on July 10, 2018, the

parties    will       be   given        a       brief    period     to     continue

mediating these issues before Magistrate Judge John E.

Ott,    after    which,       if    they         have    not     been     resolved,

defendants       will        be     required            to     respond     to     the

plaintiffs’ motion.               The court emphasizes that it does

not    reach    the     question         of      what        dispute     resolution

process may be required for these or other issues under

its understaffing remedial opinion and order, see Phase

2A Understaffing Remedial Opinion (doc. no. 1656) and

Order    (doc.    no.      1657),        but      adopts        this     particular

procedure in the exercise of its discretion.


                                         II.

       On July 10, 2018, the court held an on-the-record

conference call regarding the status of the Phase 2A

hospital-level care remedy.                      The parties informed the

court that defendants have revised their approach to

this    issue    since       they       submitted        a     proposed    plan    in

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December 2017. That new approach consists primarily of

a Request for Proposal (“RFP”), which will solicit bids

from    providers   of    hospital-level      mental-health       care.

The    parties   further   represented      that    if    the   RFP     is

successful in soliciting bidders, the implementation of

a resulting contract or contracts would resolve perhaps

“90     percent”     of     the        disputes     regarding         the

hospital-level care remedy.

       In order to provide defendants with an opportunity

to issue the RFP and report back on its success, and to

provide both parties further opportunity to resolve the

remaining    “10    percent”      of    issues,    the    court    will

continue the evidentiary hearing now set for July 23,

2018, as well as the related deadlines.                  In addition,

because defendants’ approach to hospital-level care has

significantly changed, the parties will be required to

submit a new proposed plan and pretrial briefing.                     The

court’s     grant    of    this    continuance       is    based        on

representations by defendants that they will continue

to provide interim hospital-level care to the extent


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needed by inmates, and in accordance with the prior

orders in this case.

                                    ***

       It is therefore ORDERED as follows:

       (1) Plaintiffs’ motion for show-cause order (doc.

no. 1916) is granted as follows.                   The parties are to

engage forthwith in mediation before Magistrate Judge

John    E.   Ott   regarding    both      issues    presented     in   the

plaintiffs’ motion, namely, both the “reporting” and

“implementation” issues.            By the date set forth below,

the parties are to file a joint statement to the court

explaining what issues, if any, have been resolved. To

the    extent   that    the   issues      have    not   been    resolved,

defendants      are    to   file,    by    said     date,   a   response

showing cause as to why they should not be held in

contempt.

       (2) The parties’ oral request, made on-the-record

on July 10, 2018, with regard to hospital-level care is

granted as set forth below.




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    (3) The remaining deadlines and dates for the Phase

2A remedy scheduling order for the Eighth Amendment

claim   (doc.   no.   1860)     are,   accordingly,       revised       as

follows:




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                         OLD DATES                  NEW DATES

STAFFING

Parties’ Joint                                      7/23/18
Statement and
Defendants’ Response
to Show-Cause Order
Re: Mental-Health
Understaffing

HOSPITAL-LEVEL CARE

Joint Status Report,                                9/7/18
Including Status of
RFP
Defendants’ New                                     9/17/18
Proposal
Plaintiffs’ Response                                9/27/18
Pretrial Briefs,                                    10/15/18
Summarizing Issues
and Evidence for
Trial
Evidentiary Hearing      7/23/18 at 9:00 a.m.       10/22/18 at 9:00 a.m.
and Oral Argument

SUICIDE PREVENTION

Defendants' Proposal     8/14/18
Plaintiffs' Response     8/28/18
Pretrial Hearing         9/4/18 at 10:00 a.m.
Evidentiary Hearing      9/10/18 at 9:00 a.m.

DISCIPLINARY
SANCTIONS
Defendants' Proposal     9/21/18
Plaintiffs' Response     10/5/18
Pretrial Hearing         10/12/18 at 10:00 a.m.
Evidentiary Hearing      10/22/18 at 9:00 a.m.


     DONE, this the 11th day of July, 2018.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
